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 6   Attorney for Richie Martinsen
 7                             UNITED STATES DISTRICT COURT
 8                            EASTERN DISTRICT OF CALIFORNIA

 9                                                      1:17-cr-00188-LJO-SKO
     United States of America,
10

11                                                      WAIVER OF DEFENDANT
     v.                                                 MARTINSEN’S PERSONAL
12                                                      PRESENCE
13
     Martinsen, et al.
14

15          Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant Richie Martinsen, having been
16
     advised of his right to be present at all stages of the proceedings, hereby requests that this Court
17
     proceed in his absence on every occasion that the Court may permit, pursuant to this waiver.
18
     Defendant agrees that his interests shall be represented at all times by the presence of
19

20   his attorney of record the same as if Defendant were personally present, and requests that this

21   court allow his attorneys-in-fact to represent his interests at all times. Defendant further agrees

22   that notice to Defendant’s attorney that Defendant’s presence is required will be deemed notice
23   to the Defendant of the requirement of his appearance at same time and place.
24
            This request is made because it is very difficult for defendant to make the trip from Los
25
     Angeles to Fresno because of financial reasons.
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                       WAIVER OF PERSONAL PRESENCE – DEFENDANT MARTINSEN
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 1

 2   DATE: October 27, 2017

 3   Respectfully submitted,

 4
     /s/ Richard Martinsen
 5

 6   ________/s/__________________
     Richie Martinsen
 7   Defendant
     (Original Signature in File)
 8

 9
     DATE: October 27, 2017
10
     Respectfully submitted,
11

12   /s/ Mark McBride

13
     ________/s/__________________
14   Mark McBride
     Attorney at LAW
15

16
     ORDER
17
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
18   appearance may be waived at any all non-substantive pretrial proceedings until further
     order of this Court.
19

20   IT IS SO ORDERED.

21      Dated:    October 27, 2017                          /s/ Sheila K. Oberto
22                                                UNITED STATES MAGISTRATE JUDGE

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                      WAIVER OF PERSONAL PRESENCE – DEFENDANT MARTINSEN
